Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 1 of 31        PageID #: 3445



                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


 AMERICAN AERIAL SERVICES, INC.,)
                                )
     Plaintiff,                 )
                                )
                v.              )
                                ) Case No. 2:12-cv-00361-JDL
 TEREX USA, LLC, and            )
 THE EMPIRE CRANE COMPANY, LLC, )
                                )
     Defendants.                )


     ORDER ON THE DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
        This matter is before the court on the Motions for Summary Judgment filed by

 the defendants, Terex USA, LLC (“Terex”) and The Empire Crane Company, LLC

 (“Empire”) (ECF Nos. 87 and 89, respectively). After careful review, I conclude that

 the defendants’ motions should be GRANTED IN PART and DENIED IN PART.

                                I. INTRODUCTION
        The plaintiff, American Aerial Services, Inc. (“American Aerial”) is a Maine

 company which supplies cranes and labor for the construction of steel buildings and

 other steel structures, and also rents cranes. Pl.s Opp’n. Br., ECF No. 93 at 2. In

 late 2011, the president and founder of American Aerial, James Read (“Read”),

 decided to purchase a new crane to replace two existing cranes in American Aerial’s

 fleet. Read Dep., ECF No. 80-1 at 12-13. One of the cranes that Read was interested

 in and eventually purchased was the crane which is the subject of this lawsuit – a




                                          1
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 2 of 31                        PageID #: 3446



 Terex Model T-780 truck crane (“the Crane”)1 manufactured by Terex. ECF No. 93

 at 2-3.

               In December 2011, Read contacted Chet Zerrillo, a salesman working for

 Empire, which is an authorized Terex dealer for the northeast United States,

 including the State of Maine. ECF No. 93 at 3.                     Shortly after speaking with Read

 about the potential purchase of a new crane and his interest in the Terex T-780,

 Zerrillo emailed Read on December 14, 2011, stating that, “[w]e found 1 T-780. It is

 at the factory, having just come off the line. I will not know until tomorrow if we can

 get it (however the dealer that ordered it has gotten many units from us)[.] I will not

 know the specs, or the price until tomorrow.” ECF No. 95-7 at 2. Zerrillo attached to

 his email a Terex advertising brochure (the “Data Sheet”) which included the Crane’s

 various specifications and information about its lifting capacity, which was presented

 in the form of a “load chart.” ECF No. 93 at 3. Read stated that the Data Sheet was

 “a primary factor” in his decision to purchase a T-780. Id. at 4. Each page of the Data

 Sheet containing load chart information also contained a disclaimer at the bottom

 which read, in small print, “[d]ata published herein is intended as a guide only and

 shall not be construed to warrant applicability for lifting purposes.” Data Sheet, ECF

 No. 75-4 at 8-17.

               Unknown to American Aerial, and contrary to Zerrillo’s December 14 email,

 the Crane had not “just come off the line” and was not at the Terex factory, but instead



                                                             
 1 A “truck crane” is a self-propelled hydraulic crane that is capable of driving on public roads. The
 crane’s counterweight, boom, and jib are all transported as one unit and do not require disassembly
 or separate transport. See Read Dep., ECF No. 80-1 at 13.

                                                                2
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 3 of 31         PageID #: 3447



 was parked on a nearby storage lot. ECF No. 77-2 at 16.      The Crane had actually

 been built five months earlier in July 2011, when it was purchased by a Terex

 distributor, Cropac Equipment, Inc. (“Cropac”), and was then parked and stored on

 Cropac’s storage yard awaiting a final purchaser. Id.; ECF No. 77-3 at 48.

       On December 16, just two days after Zerrillo sent his email to Read, American

 Aerial signed a one-page sales contract with Empire to purchase the Crane for

 $615,000.00. ECF No. 77-1. The contract did not contain any language concerning

 warranties, warranty exclusions or limitations. Id. Approximately one week later,

 both parties agreed to a contract modification, whereby Empire agreed to deliver the

 Crane to American Aerial in Maine “no later than 11:49 pm on December 31, 2011.”

 ECF No. 95-8 at 2. American Aerial took delivery at its headquarters in Gray, Maine

 on December 30. ECF No. 93 at 4.

       On January 6, 2012, a technician from Empire came to Maine to perform a

 delivery inspection of the Crane, and determined that the Crane’s engine was 22

 quarts low on coolant and had likely been driven from Iowa to Maine in that condition.

 ECF No. 95 at 5-6, ¶¶20, 22-25. The same day, Read wrote a letter to Zerrillo to

 announce that he was “revoking the acceptance” of the Crane due to a partially

 shredded serpentine belt in the engine and the fact that the Crane had apparently

 been driven 1500 miles without adequate coolant in the engine. ECF No. 95-9 at 3.

 In an accompanying email sent to Zerrillo later the same day, Read stated that his

 primary reason for sending the letter was “to preserve all of the rights of American




                                           3
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 4 of 31           PageID #: 3448



 Aerial Services to ensure that it received what it paid for and to timely notify all

 concerned parties of the problem.” ECF No. 95-10 at 2.

       In late February 2012, Read emailed Zerrillo again, stating that the recently-

 replaced serpentine belt in the Crane’s engine had disintegrated again and that “the

 roof of the driver’s cab leaks, the jib will not retract properly, the boom is not fully

 retracting, fluid leaks under the engine, the boom sheaves slides [sic] side to side

 during operation causing the cable to fall off the boom and the smell of coolant is

 wafting through the air as the engine ran [sic].” ECF No. 95-11 at 2. Throughout

 March, April, and May 2012, Read spoke by telephone with Empire personnel about

 the Crane’s multiple problems. ECF No. 95 at 8, ¶33. In June 2012, Read sent an

 email to Luke Lonergan, Empire’s owner, regarding “issues that remain unresolved

 with the [Crane] that I purchased from you,” and stating additional alleged problems

 with the Crane, including a bent pulley, a faulty driver cab door, and an allegedly

 defective lock on the crane boom. ECF No. 95-12 at 2.

       In August 2012, American Aerial hired a third-party vendor, Certified Boom

 Repair Service Northeast, LLC (“Certified Boom”), to repair damage to the “rooster

 sheave,” a component of the Crane which bolts to the top of the main telescoping

 boom. ECF No. 95 at 9, ¶41. In the course of making these repairs, service personnel

 at Certified Boom informed Read that certain welds on the Crane’s main boom and

 jib were defective. Id. at ¶42. The Crane was then inspected two weeks later by Ed

 Fleischer, a Terex Technical Support Representative, who met with Read to review




                                            4
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 5 of 31          PageID #: 3449



 all of American Aerial’s complaints about the Crane. Def.’s Stmt. Undisp. Mat. Fact,

 ECF No. 88 at 13, ¶69.

       Two days after Fleischer inspected the Crane on behalf of Terex, American

 Aerial hired its own consultant, Roaring Brook Consultants, Inc. (“Roaring Brook”),

 to inspect the Crane. ECF No. 95 at 10, ¶46. As part of its inspection, Roaring Brook

 performed a “load test” to determine whether or not the Crane could safely lift the

 amount of weight for which it was rated. Id. at 11, ¶50. Paul Roberts, the Roaring

 Brook inspector, testified that he ended the load test early when the Crane was lifting

 only 60% of its rated capacity because he was concerned about the Crane rolling over.

 Roberts Dep., ECF No. 82-1 at 12-13.

       In mid-September, Fleischer submitted a written report to Empire regarding

 American Aerial’s complaints with the Crane. Fleischer Rept., ECF No. 78-11. The

 report recommended that an authorized dealer of the engine manufacturer replace a

 fan shroud which covered the engine’s radiator and otherwise “troubleshoot” the

 Crane’s engine. ECF No. 78-11 at 3 and 10. With regard to the other alleged defects,

 Fleischer suggested variously that the problem had already been repaired; or that it

 was the result of “operator error;” or was the result of unspecified “unknown repairs;”

 some of the asserted defects did not exist; or that the problem could be corrected by

 “dressing up the bad areas.” See id. at 2-10. In short, the Fleischer report suggested

 that Cummins, Inc., the manufacturer of the Crane’s engine, should perform work on

 the Crane and do follow-up troubleshooting, but that there was no corrective work for

 Terex to perform.



                                           5
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 6 of 31            PageID #: 3450



       Empire did not deliver Fleischer’s report to American Aerial because American

 Aerial did not provide Empire with information it had requested regarding the

 repairs performed by Certified Boom. ECF No. 103 at 16, ¶57. Instead, by email

 dated September 17, 2012, Empire offered to replace the fan shroud covering the

 engine’s radiator and attempt to fix an “outrigger switch” that Read had complained

 of previously. ECF No. 95-17 at 2. Read declined, stating that “these repairs . . . will

 have no material effect on the usability of the crane.” Id. When Read received no

 further proposed action to address the Crane’s alleged defects, American Aerial filed

 this lawsuit in the Cumberland County Superior Court on October 25, 2012. ECF

 No. 3-1. The case was removed to this court on November 27, 2012. ECF No. 1.

                      II. SUMMARY JUDGMENT STANDARD

 A.    Federal Rule of Civil Procedure 56

       Summary judgment is appropriate “if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Fed. R. Civ. P. 56(a); Ahmed v. Johnson, 752 F.3d 490, 495 (1st Cir.

 2014). “A dispute is genuine if ‘the evidence about the fact is such that a reasonable

 jury could resolve the point in the favor of the non-moving party.’” Johnson v.

 University of Puerto Rico, 714 F.3d 48, 52 (1st Cir. 2013) (quoting Thompson v. Coca-

 Cola Co., 522 F.3d 168, 175 (1st Cir. 2008)). “A fact is material if it has the potential

 of determining the outcome of the litigation.” Id. (quoting Maymi v. P.R. Ports Auth.,

 515 F.3d 20, 25 (1st Cir. 2008)).




                                            6
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 7 of 31             PageID #: 3451



        The party moving for summary judgment must demonstrate an absence of

 evidence to support the nonmoving party’s case. Celotex Corp. v. Catrett, 477 U.S.

 317, 325 (1986). In determining whether this burden is met, the court must view the

 record in the light most favorable to the nonmoving party and give that party the

 benefit of all reasonable inferences in its favor. Johnson, 714 F.3d at 52. Once the

 moving party has made a preliminary showing that no genuine issue of material fact

 exists, the nonmovant must “produce specific facts, in suitable evidentiary form, to

 establish the presence of a trialworthy issue.” Brooks v. AIG SunAmerica Life Assur.

 Co., 480 F.3d 579, 586 (1st Cir. 2007) (citing Clifford v. Barnhart, 449 F.3d 276, 280

 (1st Cir. 2006)); Fed. R. Civ. P. 56(c). “As to any essential factual element of its claim

 on which the nonmovant would bear the burden of proof at trial, its failure to come

 forward with sufficient evidence to generate a trialworthy issue warrants summary

 judgment to the moving party.” In re Spigel, 260 F.3d 27, 31 (1st Cir. 2001) (citation

 and internal punctuation omitted).

 B.     Local Rule 56

        The evidence that the court may consider in deciding whether genuine issues

 of material fact exist for purposes of summary judgment is circumscribed by the local

 rules of this district. See Loc. R. 56. The moving party must first file a statement of

 material facts that it claims are not in dispute. See Loc. R. 56(b). Each fact must be

 set forth in a numbered paragraph and supported by a specific record citation. See

 id.   The nonmoving party must then submit a responsive “separate, short, and

 concise” statement of material facts in which it must “admit, deny or qualify the facts



                                             7
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 8 of 31              PageID #: 3452



 by reference to each numbered paragraph of the moving party’s statement of material

 facts[.]”   Loc. R. 56(c).   The nonmovant likewise must support each denial or

 qualification with an appropriate record citation. See id. The nonmoving party may

 also submit its own additional statement of material facts that it contends are not in

 dispute, each supported by a specific record citation. See id. The movant then must

 respond to the nonmoving party’s statement of additional facts, if any, by way of a

 reply statement of material facts in which it must “admit, deny or qualify such

 additional facts by reference to the numbered paragraphs” of the nonmovant’s

 statement. See Loc. R. 56(d). Again, each denial or qualification must be supported

 by an appropriate record citation. See id.

        Local Rule 56 directs that “[f]acts contained in a supporting or opposing

 statement of material facts, if supported by record citations as required by this rule,

 shall be deemed admitted unless properly controverted.” Loc. R. 56(f). In addition,

 “[t]he court may disregard any statement of fact not supported by a specific citation

 to record material properly considered on summary judgment” and has “no

 independent duty to search or consider any part of the record not specifically

 referenced in the parties’ separate statement of fact.” Id.; see also, e.g., Borges, ex rel.

 S.M.B.W. v. Serrano-Isern, 605 F.3d 1, 5 (1st Cir. 2010); Fed. R. Civ. P. 56(c)(2) (“If a

 party fails to properly support an assertion of fact or fails to properly address another

 party’s assertion of fact as required by Rule 56(c), the court may . . . consider the fact

 undisputed for purposes of the motion[.]”).




                                              8
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 9 of 31          PageID #: 3453



                               III. LEGAL ANALYSIS

 A.    Agency Law

       In order to rule on Terex and Empire’s respective motions for summary

 judgment, it is necessary to first address the parties’ arguments for and against the

 existence of an agency relationship between Terex and Empire.

       Agency is a fiduciary relationship resulting from “the manifestation of consent

 by one person to another that the other shall act on his behalf and subject to his

 control, and consent by the other so to act.” J&E Air, Inc. v. State Tax Assessor, 773

 A.2d 452, 456 (Me. 2001) (quotation omitted). An agency-principal relationship may

 be based upon either actual or apparent authority. Libby v. Concord Gen. Mut. Ins.

 Co., 452 A.2d 979, 981 (Me. 1982). In this case, there is no dispute as to the absence

 of actual authority. ECF No. 93 at 12; ECF No. 102 at 1. Instead, the parties dispute

 whether Empire was the agent of Terex pursuant to apparent authority.

       Apparent authority is that “which, though not actually granted, the principal

 knowingly permits the agent to exercise or which he holds him out as possessing.”

 Steelstone Industries, Inc. v. North Ridge Ltd. Partnership, 735 A.2d 980, 983 (Me.

 1999) (quoting Williams v. Inverness Corp., 664 A.2d 1244, 1246 (Me. 1995)).

 “Apparent authority exists only when the conduct of the principal leads a third party

 to believe that a given party is his agent.” Id. (emphasis omitted). It exists “only to

 the extent that it is reasonable for the third person dealing with the agent to believe

 that the agent is authorized.” Restatement (Second) of Agency § 8, comment c (1958).




                                           9
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 10 of 31        PageID #: 3454



       American Aerial argues that Empire was the agent of Terex based upon the

 following alleged conduct: Terex allowed Empire to be an authorized Terex dealer;

 Terex listed Empire on the “dealer locator” section of its website; Terex allowed

 Empire to display the Terex name and logo on Empire’s website and in its retail

 locations; Terex supplied promotional materials such as the Data Sheet for Empire

 to use in selling its products; and Terex maintained control over warranty issues

 involving its products that Empire sold. ECF No. 93 at 12-13. To support the notion

 that such conduct could reasonably lead a third party to believe that an agency

 relationship existed, American Aerial cites Williams v. Inverness Corp., 664 A.2d

 1244, supra, where the Law Court found apparent authority between Inverness

 Corporation, a manufacturer of earrings and ear-piercing kits, and a jewelry store

 owner who used and sold Inverness products. Id. at 1244-45. The court based its

 finding of apparent authority on the fact that the jewelry cart owner used Inverness’

 training program, purchased ear-piercing equipment directly from Inverness, and

 gave third-party customers both a release form and after-care instructions that were

 furnished by Inverness and which bore Inverness’ name. Id. at 1247.

       Here, by contrast, there is no such evidence that Terex trained Empire

 personnel or sold equipment directly to Empire. None of the documents signed by

 American Aerial’s principal, James Read, featured the Terex logo or even mentioned

 Terex other than to identify the type of crane being sold. Modified Contract, ECF No.

 95-8 at 2. Although Terex did supply Empire with its Data Sheet, which Empire in

 turn furnished to American Aerial, this alone is not a sufficient basis upon which to



                                          10
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 11 of 31            PageID #: 3455



 reasonably believe that an agency relationship existed, according to American

 Aerial’s own cited authority. See Malmberg v. American Honda Motor Co., Inc., 644

 So.2d 888, 891 (Ala. 1994) (“although there was evidence that Honda logos were

 displayed upon signs, literature, products, brochures, and plaques at the [co-

 defendant’s] place of business, that evidence was not sufficient, in itself, to create an

 inference of agency.”) (quotation and emphasis omitted). This persuasive authority

 also weighs against finding apparent authority despite Empire’s use of the Terex logo

 on its website, and the fact that Terex listed Empire on the “dealer locator” portion of

 its website.

       In addition to Malmberg, American Aerial also cites Azimi v. Ford Motor

 Company, 977 F.Supp. 847, 851-52 (N.D. Ill., 1996) to support its claim that Empire

 was an agent of Terex. ECF No. 93 at 13. But both cases are distinguishable from

 this one. The defendant manufacturers in Azimi and Malmberg trained dealership

 personnel regarding their respective warranties, while there is no evidence in this

 case of Terex doing so. Azimi, 977 F.Supp. at 851; Malmberg at 644 So.2d at 891. In

 Azimi, Ford went so far as to train the mechanics who performed maintenance on the

 vehicles that were under warranty. Azimi at 851. Again, there is no evidence of this

 level of involvement by Terex in this case. See also Connick v. Suzuki Motor Co., Ltd.,

 675 N.E.2d 584, 592-93 (Ill. 1996) (plaintiffs failed to allege that manufacturer held

 out its dealers as agents by, among other things, requiring dealership employees to

 be trained by the manufacturer).




                                            11
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 12 of 31         PageID #: 3456



       Accordingly, I am not persuaded that a reasonable jury could infer from Terex’s

 conduct that American Aerial reasonably believed Empire to be the agent of Terex on

 the basis of apparent authority.

 B.    COUNT ONE:          BREACH       OF     CONTRACT       AND     BREACH       OF
       WARRANTY

       1.     Breach of Contract

       American Aerial asserts one claim for breach of contract against Empire and

 Terex, arguing that the contract called for one “new” crane, and that the Crane which

 was delivered was not “new” due to the fact that it sat on an open-air lot without

 having been properly stored or maintained for approximately five months before

 being delivered to Maine. Pl. Opp’n. Br., ECF No. 96 at 12-13.

       The sales contract between Empire and American Aerial states that the

 equipment sold was a “[n]ew 2011 Terex T780 – 80 ton Hydraulic Truck Crane.” ECF

 No. 95-8 at 2. Empire asserts that the Crane was “new” at the time of purchase

 because there is no evidence that the crane was utilized prior to delivery. ECF No.

 89 at 6. Neither party cites any authority or statute to support its definition of the

 word “new,” although American Aerial does cite Black’s Law Dictionary, which

 defines “new” as “recently come into being.” Black’s Law Dictionary, 1140-41 (9th ed.

 2009).  

       Maine law categorizes a truck crane as “special mobile equipment,” which is

 defined as “a motor vehicle with permanently mounted equipment not designed or

 used primarily for the transportation of persons or property.”      29-A M.R.S.A. §




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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 13 of 31            PageID #: 3457



 101(70). Unfortunately, the statute does not define “new” special mobile equipment.

 See generally 29-A M.R.S.A.

       Maine’s Motor Vehicle Dealers Act, 10 M.R.S.A. § 1171-1186 (“the Dealers

 Act”), defines a “new motor vehicle” as “a motor vehicle that has not been previously

 sold to any person except a distributor, wholesaler or motor vehicle dealer for resale

 by franchise.” 10 M.R.S. § 1171(13). Although a “motor vehicle” in this context is a

 vehicle designed or used to transport people or property (a task specifically excluded

 from the definition of special mobile equipment), this definition nevertheless sheds

 light on how to distinguish a “new” truck crane from one that is not “new.”

       Further guidance can be found in decisions from the federal courts.            For

 example, the United States Environmental Protection Agency (“E.P.A.”) has defined

 a “new” vehicle for purposes of federal environmental regulation as a “vehicle[]. . . for

 which the legal or equitable title ha[s] never been transferred to the ultimate

 purchaser,” and which has not been “put to use.” Engine Mfrs. Ass’n v. E.P.A., 88

 F.3d 1075, 1082, 1084 (D.C. Cir. 1996).          The United States Department of

 Transportation (“U.S. DOT”) has defined a “new” vehicle as one which “is offered for

 sale or lease after manufacture without any prior use.” Toomer v. City Cab, 443 F.3d

 1191, 1195-96 (10th Cir. 2006) (quoting 49 C.F.R. ¶37.3). While neither of these

 definitions encompasses special mobile equipment such as the Crane, it is useful to

 note that a common thread between the definition of a “new motor vehicle” under the

 Maine’s Dealers Act and the federal law considered in Engine Mfrs. Ass’n and Toomer,

 is whether the sale at issue was to the ultimate user or merely to a distributor.



                                            13
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 14 of 31           PageID #: 3458



 Interestingly, neither definition mentions the relative age or even the condition of the

 vehicle. Treating newness as turning on whether a truck crane has been sold to the

 ultimate purchaser who will put it to use is a sensible approach.

       In this case, it is undisputed that the entities which purchased the Crane

 before it was ultimately sold to American Aerial – Cropac and Empire – are both

 authorized Terex distributors. ECF No. 88, ¶¶2, 6, 7, 18, 20, 26, 35; ECF No. 95 at 2,

 ¶6, 9 It is also undisputed that Cropac and Empire purchased the Crane in order to

 resell it, and that American Aerial purchased the Crane in order to put it to use. Id.;

 ECF No. 95 at 1, ¶2. In light of these undisputed facts, I conclude as a matter of law

 that the Crane was “new” when Empire sold it to American Aerial. Therefore, the

 defendants’ motions for summary judgment with regard to American Aerial’s claim

 for breach of contract are GRANTED.

       2.     Breach of Warranty

       The defendants seek summary judgment as to American Aerial’s warranty

 claims on several bases.

       (1)    Opportunity to Repair

       Terex argues that American Aerial’s breach of warranty claims must fail

 because Terex only learned of the Crane’s alleged defects in late August 2012 and did

 not have the opportunity to repair the Crane before American Aerial filed its suit for

 breach of warranty and other claims. ECF No. 87 at 16. However, Terex does not

 deny that reports about the Crane’s alleged defects were entered into its own

 Customer Relations Software (“CRM”) starting in January 2012 and continuing



                                           14
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 15 of 31                      PageID #: 3459



 through August 2012.2 See ECF No. 103 at 9, ¶28. See also ECF No. 82-8. This fact

 alone, viewed in the light most favorable to American Aerial, is sufficient to deny

 summary judgment on this basis.

                              (2)            Adequacy of Notice

               Where a tender has been accepted, the buyer must within a reasonable
               time after he discovers or should have discovered any breach notify the
               seller of breach or be barred from any remedy;

 11 M.R.S.A. § 2-607(3)(a) (the “Maine UCC”).

               The parties dispute whether American Aerial provided notice to the defendants

 within a reasonable time as required by § 2-607(3)(a) of the Maine UCC. ECF No. 87

 at 16-18; ECF No. 89 at 12. American Aerial argues that § 2-607(3)(a) requires merely

 that notification “be sufficient to let the seller know that the transaction is still

 troublesome and must be watched,” ECF No. 96 at 8 (quoting § 2-607 Comment 4),

 and claims that its notice to the defendants was sufficient because it wrote to Empire

 on multiple occasions about its dissatisfaction with the Crane beginning in January

 2012 and continuing through September 2012. ECF No. 93 at 16-18. American Aerial

 also points out that Read met with Ed Fleischer, the Terex representative, in August

 2012 at American Aerial’s office in Maine, where Fleischer inspected the Crane and




                                                             
 2 American Aerial cites the deposition testimony of Ed Fleischer to establish that Terex used the CRM
 software, known as “Salesforce,” as its “primary method” for tracking customer complaints and issues
 related to Terex equipment. See ECF No. 95 at 7, ¶28. Rather than explicitly deny this fact, Terex
 claims that Fleischer’s testimony reveals only that he did not understand the question posed to him
 by plaintiff’s counsel and therefore does not establish that Salesforce was the “primary method to
 manage customer relations.” ECF No. 103 at 9, ¶28. This distinction is of little consequence because
 whether Salesforce was the primary method or a secondary method of managing customer relations,
 Terex does not deny that reports of problems with the Crane found their way into its system as early
 as January 2012.

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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 16 of 31          PageID #: 3460



 spoke at length to Jim Read. Id.; Pl. Add’l. Stmt. Mat. Facts, ECF No. 95 at 9-10,

 ¶¶43, 44, 45; ECF No. 96 at 8-9.

       The defendants argue that American Aerial’s communications to Empire

 regarding the alleged problems with the Crane constituted notice of defects only,

 rather than notice of a claimed breach of warranty, and assert that Read did not

 consider the warranty breached until September 2012. ECF No. 89 at 12, 13. The

 defendants argue that this distinction is important because “even if the seller knows

 of defects in the goods, the buyer must notify the seller of the buyer’s claim that the

 defects constitute a breach.” ECF No. 87 at 17 (citing M.K. Associates v. Stowell

 Products, Inc., 697 F. Supp. 20, 22 (D. Me. 1988)). The defendants also maintain that

 American Aerial is a sophisticated purchaser because it has purchased or leased 12

 cranes since it formed in 1997, and therefore, a more stringent notice requirement

 applies. ECF No. 89 at 13 (citing Industrial Fiberglass v. Jandt, 361 N.W.2d 595, 598

 (N.D. 1985) (“What constitutes adequate notice from an inexperienced consumer may

 not be sufficient in a transaction between professionals.”).

       Although the question of whether notice was given is one of fact, the question

 of whether the notice satisfied the UCC is one of law. K&M Joint Venture v. Smith

 International, Inc., 669 F.2d 1106, 1111 (6th Cir. 1982). For the following reasons, I

 find that American Aerial’s notice to Empire was sufficient to comply with § 2-

 607(3)(a).

         Though the defendants rely upon this court’s opinion in M.K. Assoc., the facts

 of that case are inapposite to the facts here. In M.K. Assoc., the defendant purchased



                                           16
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 17 of 31            PageID #: 3461



 wooden dowels from the plaintiff and noticed that some of the dowels were defective

 but did not notify the plaintiff for four months. 697 F.Supp. at 20-21. The parties

 had one conversation about the defects after which the plaintiff manufacturer refused

 to allow the defendant purchaser to cancel his order over the defects. Id. at 21. The

 issue was not discussed further. Id. When the plaintiff sued the defendant for the

 remaining balance due from defendant on the order of dowels, the defendant argued

 that it was entitled to deduct damages for the defects pursuant to § 2-717 of the Maine

 UCC. Id. The court noted that “[e]ven if the seller knows of defects in the goods, the

 buyer must notify the seller of the buyer’s claim that the defects constitute a breach.”

 MK Assoc., 697 F.Supp. at 22. The court concluded that “[i]n the conversation with

 [plaintiff], however, [defendant] did not clearly let [plaintiff] know that [defendant]

 considered the contract breached.” Id.

       In this case, by contrast, Read did not merely list the defects with the Crane,

 as the defendants suggest. See ECF No. 87 at 17-18; ECF No. 89 at 12. Having taken

 delivery of the Crane on December 30, 2011, Read wrote to Empire seven days later

 to revoke American Aerial’s acceptance, stating that “it is my expectation that you

 will recognize that there was a failure to deliver a crane ready for service.” ECF Nos.

 95-9. Two days later, Read emailed Chet Zerrillo stating that he sought “to preserve

 all of the rights of American Aerial Services to ensure that it received what it paid for

 and to timely notify all concerned parties of the problem.” ECF No. 95-10 at 2. More

 correspondence regarding American Aerial’s dissatisfaction with the Crane followed

 over the next six months. See ECF Nos. 95-11, 95-12, 95-13, 95-14, 95-15, 95-16.



                                            17
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 18 of 31                    PageID #: 3462



 While several of these emails do indeed amount to a laundry list of alleged defects,

 when viewed in the aggregate, the Read emails simply are not comparable to the

 single conversation found to constitute lack of notice in M.K. Assoc. The magic words

 “breach of warranty” are not to be found in any of the emails discussed above, but

 nevertheless, I find that Read’s correspondence to the defendants properly and timely

 put them on notice that American Aerial considered them to be in breach of warranty.

 Accordingly, I find that Empire’s and Terex’s respective motions for summary

 judgment should be DENIED with regard to the adequacy of American Aerial’s

 notice.

                               (3)           Warranty Limitations Contained in the Cropac-Terex
                                             Contract

               § 2-318 of the Maine UCC states that:

               Lack of privity between plaintiff and defendant shall be no defense in
               any action brought against the manufacturer, seller or supplier of goods
               for breach of warranty, express or implied, although the plaintiff did not
               purchase the goods from the defendant, if the plaintiff was a person
               whom the manufacturer, seller or supplier might reasonably have
               expected to use, consume or be affected by the goods.

 11 M.R.S.A. § 2-318.

               Terex argues that it excluded implied warranties when it sold the Crane to

 Cropac, and argues that the terms and conditions from that sale also apply to

 American Aerial pursuant to § 2-318 of the Maine UCC. ECF No. 87 at 18.3 Terex

 correctly notes that “Maine’s version of UCC § 2-318 does not conform to any of the

 three options provided by the drafters of the UCC,” observing that the UCC’s “Official

                                                             
 3 Terex failed to cite the Sales Order Acknowledgment which contains the warranty exclusion and
 limitations on damages and other remedies. It can be found in ECF No. 77-2 at 7, ¶¶7, 8.

                                                                18
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 19 of 31                             PageID #: 3463



 Commentary” does not apply under Maine law. Id. However, the very next sentence

 in Terex’s brief contains a block quote from the Official Commentary, which Terex

 mistakenly identifies as “Maine’s commentary.” Id. (quoting § 2-318 Uniform

 Commercial Code Comment, ¶1 (Westlaw)); compare with 11 M.R.S.A. § 2-318 Maine

 Code Comment, ¶¶ 1-3 (Westlaw).                                If, as Terex itself concedes, the Official

 Commentary discusses language that Maine did not adopt, then the Official

 Commentary sheds little light on Maine law and the proper construction of § 2-318.4

               American Aerial, on the other hand, cites the Law Court’s opinion in S.H.

 Nevers Corp. v. Husky Hydraulics, 408 A.2d 676, 680-81 (Me. 1979), for the

 proposition that, under Maine law, a limitation or disclaimer of warranty is not

 effective unless it has been received by the buyer subject to those provisions. ECF

 No. 93 at 18-19. This court has accordingly refused to grant summary judgment in

 the past where a movant could not show that the non-movant plaintiff received

 warranty disclaimers. McLaughlin v. Denharco, Inc., 129 F.Supp.2d 32, 39 (D.Me.

 2001).

               Therefore, in the absence of factual evidence suggesting that American Aerial

 actually received or agreed to the terms and conditions of the sale from Terex to

 Cropac, and in light of the authority cited by American Aerial, the warranty

 disclaimers contained in the sales contract between Terex and Cropac are not

 applicable and summary judgment should be DENIED with regard to this issue.


                                                             
 4 Maine courts do generally regard the Official Commentary as an official source of guidance in the
 interpretation of the UCC. McNally v. Nicholson Mfg. Co., 313 A.2d 913, 918 (Me. 1973). However,
 because Maine did not adopt any of the three options provided by the drafters of the UCC, the Official
 Commentary to §2-318, specifically, is not persuasive authority. 

                                                                19
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 20 of 31        PageID #: 3464



              (4)   Applicability of Terex’s Limited Product Warranty

       The defendants argue that American Aerial is subject to the exclusions and

 limitations contained in the Terex Limited Product Warranty, which they claim was

 incorporated into the sale of the Crane based upon a reference contained on the back

 of the Data Sheet, which states that “[t]he only warranty applicable to our equipment

 is the standard written warranty applicable to the particular product and sale and

 Terex makes no other warranty, express or implied.” Terex Br., ECF No. 87 at 19-20

 and Empire Br., ECF No. 89 at 12 citing Terex Data Sheet, ECF No. 95-7 at 26. In

 response, American Aerial argues that it never received a copy of Terex’s Limited

 Product Warranty and that Maine law requires actual receipt of the warranty

 disclaimer rather than mere incorporation by reference. ECF No. 93 at 21. (citing S.

 H. Nevers Corp., 408 A.2d at 680-81).

       Neither Terex nor Empire have supported their arguments with factual

 evidence suggesting that American Aerial actually received or agreed to the Limited

 Product Warranty. The defendants also failed to cite any authority which would

 support their argument that the Limited Product Warranty can be incorporated by

 reference based upon language contained on the Data Sheet. Accordingly, I resolve

 this question in favor of American Aerial as the non-movant and find that summary

 judgment in favor of the defendants is inappropriate with regard to the exclusions

 and limitations contained in the Terex Limited Product Warranty. The defendants’

 respective motions for summary judgment with respect to this issue are properly

 DENIED.



                                          20
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 21 of 31          PageID #: 3465



              (5)   Implied Warranty of Merchantability

       Both defendants argue that by inserting a warranty disclaimer into a block of

 text appearing on the back page of the Data Sheet, Terex properly excluded the

 implied warranty of merchantability, 11 M.R.S. § 2-314, which states in pertinent

 part that:

       (1) Unless excluded or modified by section 2-316, a warranty that the
       goods shall be merchantable is implied in a contract for their sale if the
       seller is a merchant with respect to goods of that kind . . . .

       (2) Goods to be merchantable must at least be such as
                (a) Pass without objection in the trade under the contract
                description; and
                ....
                (c) Are fit for the ordinary purposes for which such goods
                are used;

 11 M.R.S.A. § 2-314.

       The implied warranty of merchantability may be excluded or modified

 pursuant to § 2–316, which states in pertinent part that:

       (2) Subject to subsection (3), to exclude or modify the implied warranty
       of merchantability or any part of it the language must mention
       merchantability and in case of a writing must be conspicuous . . . .

       (3) Notwithstanding subsection (2)

                 (a) Unless the circumstances indicate otherwise, all
                 implied warranties are excluded by expressions like “as is”,
                 “with all faults” or other language which in common
                 understanding calls the buyer’s attention to the exclusion
                 of warranties and makes plain that there is no implied
                 warranty . . . .


 11 M.R.S.A. § 2-316.




                                          21
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 22 of 31           PageID #: 3466



       Conspicuousness, as used in § 2-316, is defined by 11 M.R.S.A. § 1-1201(10),

 which states that:

       “Conspicuous,” with reference to a term, means so written, displayed or
       presented that a reasonable person against which it is to operate ought
       to have noticed it. Whether a term is “conspicuous” or not is a decision
       for the court. Conspicuous terms include the following:

                 (a.) A heading in capitals equal to or greater in size than
                 the surrounding text, or in contrasting type, font or color to
                 the surrounding text of the same or lesser size; and

                 (b.) Language in the body of a record or display in larger
                 type than the surrounding text, or in contrasting type, font
                 or color to the surrounding text of the same size, or set off
                 from surrounding text of the same size by symbols or other
                 marks that call attention to the language.


 11 M.R.S.A. § 1-1201.

                      (i)   Exclusion   of     the    Implied          Warranty      of
                            Merchantability, § 2-316(2)

       The defendants argue that the Data Sheet excludes the implied warranty of

 merchantability because of language contained in the middle of the block of text on

 the Data Sheet’s back page, which reads, “[t]he only warranty applicable to our

 equipment is the standard written warranty applicable to the particular product and

 sale, and Terex makes no other warranty, express or implied.” See ECF No. 75-4 at

 23. This language does not appear in capital letters; does not appear in type that is

 larger than the surrounding text; does not mention merchantability; and does not

 appear in a contrasting font or color compared to the surrounding text. See id. There

 are no other marks that call attention to the quoted language. Therefore, I find that




                                           22
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 23 of 31          PageID #: 3467



 the quoted language on the back page of the Data Sheet is not conspicuous within the

 meaning of § 2-316(2).

                     (ii) Exclusion of All Implied Warranties, § 2-316(3)(a)

       The defendants also assert that the language contained on the back page of the

 Data Sheet excludes implied warranties pursuant to § 2-316(3)(a), which allows

 warranty exclusions when accompanied by expressions like “as is,” “with all faults,”

 or “other language which in common understanding calls the buyer’s attention to the

 exclusion of warranties.” § 2-316(3)(a). Because the Data Sheet does not contain

 either the phrase “as is” or “with all faults,” the defendants assert that the language

 on the back page constitutes the “other language” described by the statute. ECF No.

 87 at 21-22. The defendants also cite authority stating that a warranty exclusion

 under § 2-316(3)(a) need not be conspicuous, unlike an exclusion under § 2-316(2).

 Empire Reply Br., ECF No. 104 at 5 (citing DeKalb Agresearch, Inc. v. Abbott, 391

 F.Supp. 152, 155 (N.D. Ala. 1974); Star-Shadow Products, Inc. v. Super 8 Sync.

 Sounds Sys., 730 A.2d 1081, 1084 (R.I. 1999).

       I am not persuaded that the language on the back page of the Data Sheet

 constitutes an effective disclaimer of implied warranties pursuant to § 2-316(3)(a).

 For a warranty exclusion to pass muster, the statute requires commonly used phrases

 such as “with all faults,” or “as is,” which, due to their widespread usage, are

 immediately recognized as disclaiming warranties even upon casual perusal by non-

 lawyers. See § 2-316(3)(a). That the drafters of the UCC also permitted a seller to

 exclude implied warranties with “other language” left open the possibility that



                                           23
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 24 of 31                         PageID #: 3468



 parties could use other terms not specified in the statute, but which convey the same

 meaning as “with all faults” or “as is.” The language on the back of the Data Sheet

 states simply that “Terex makes no warranty, express or implied.” ECF No. 75-4 at

 23. Nothing about this statement could reasonably be said to constitute a term which

 “calls the buyer’s attention” to the attempted exclusion of all warranties in the same

 manner as the phrases “as is” or “with all faults,” and therefore, it does not satisfy §

 2-316(3)(a).5

         Finally, Terex cites Omni-Circuits, Inc. v. DRP, Inc., 1987 WL 7290 at *5 (N.D.

 Ill. 1987) to claim that it is entitled to summary judgment because the sale of the

 Crane to American Aerial was a commercial transaction involving experienced

 businesspersons rather than a consumer transaction involving ordinary purchasers.

 ECF No. 87 at 21.        However, the Omni-Circuits court found that the disclaimer at

 issue in that case was capitalized, which was “sufficient to somewhat set it apart.”

 Omni-Circuits, Inc. at *5. That is not the case with the language contained on the

 back page of the Data Sheet.

         Accordingly, because Terex’s purported disclaimer is not conspicuous, and

 because it does not contain other language that would “call the buyer’s attention to

 the attempted exclusion,” summary judgment in favor of the defendants should be

                                                             
 5
    Furthermore, the decisions cited by the defendants for the proposition that an exclusion need not be
 conspicuous are not controlling under the circumstances presented here. To hold otherwise would
 allow § 2-316(3) to function as a loophole for the conspicuousness requirement of § 2-316(2), rendering
 that section of the statute a nullity. Additionally, there is contradictory persuasive authority from
 other jurisdictions stating that “[c]ourts have generally read subsection (2)’s conspicuousness
 requirement into subsection (3).” Scientific Leasing, Inc. v. Morris, 1993 WL 524787,*2 (N.D. Ill. 1993).
 See also MAN Roland Inc. v. Quantum Color Corp., 57 F.Supp.2d 568, 573 (N.D. Ill. 1999); Bevard v.
 Akax Mfg. Co., 473 F.Supp. 35, 38 (E.D. Mich. 1979).
  

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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 25 of 31          PageID #: 3469



 DENIED on the question of whether the implied warranty of merchantability has

 been properly excluded.

              (6)   Implied Warranty of Fitness for a Particular Purpose

       The implied warranty of fitness for a particular purpose states that

       Where the seller at the time of contracting has reason to know any
       particular purpose for which the goods are required and that the buyer
       is relying on the seller’s skill or judgment to select or furnish suitable
       goods, there is, unless excluded or modified under section 2-316, an
       implied warranty that the goods shall be fit for such purpose.

 11 M.R.S.A. § 2-315. The implied warranty of fitness for a particular purpose is

 narrower than the implied warranty of merchantability. Lorfano v. Dura Stone Steps,

 Inc., 569 A.2d 195, 197 (Me. 1990). The Official commentary to § 2-315 explains the

 meaning of a “particular purpose” as follows:

       A “particular purpose” differs from the ordinary purpose for which the
       goods are used in that it envisages a specific use by the buyer which is
       peculiar to the nature of his business whereas the ordinary purposes for
       which goods are used are those envisaged in the concept of
       merchantability and go to uses which are customarily made of the goods
       in question.

 § 2-315, comment 2.

       Empire argues that American Aerial did not advise it of a specific purpose or

 extraordinary use of the Crane. ECF No. 89 at 14. American Aerial counters that

 Empire knew its particular purpose for the Crane was its equipment rental business,

 which falls outside the scope of the ordinary purposes for which the Crane would be

 used because renting a crane “subjected [it] to more frequent and demanding uses

 than would ordinarily be expected.” ECF No. 96 at 12. However, this is a conclusory

 statement for which American Aerial has cited no supporting authority or record


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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 26 of 31                       PageID #: 3470



 evidence.6 Absent a citation to such evidence or supporting legal authority, American

 Aerial has not established that the use of a crane as part of a crane rental business

 is outside the ordinary use for such equipment. Accordingly, I find that summary

 judgment is appropriate and should be GRANTED as to both Empire and Terex with

 regard to American Aerial’s claim for breach of the warranty of fitness for a particular

 purpose.

 C.            COUNT TWO – BREACH OF DUTY OF GOOD FAITH AND FAIR
               DEALING

               This count was dismissed when the court affirmed the recommended decision

 of the magistrate judge, concluding that “American Aerial’s allegations do not support

 an inference that any action by Terex or Empire would support a plausible claim of

 dishonesty or failure to disclose a fact which either defendant had a duty to disclose.”

 Report and Recommended Decision of the Magistrate Judge, ECF No. 21 at 6; and

 Order Affirming the Recommended Decision of the Magistrate Judge, ECF No. 32.

 Accordingly, no further action is required.

 D.            COUNTS THREE AND FOUR – FRAUD

               American Aerial bases its fraud claim against Empire on two alleged

 misrepresentations. The first alleged misrepresentation is Zerrillo’s email to Read in

 which he stated that the Crane was “at the factory” and “just . . . off the line.” Pl.’s



                                                             
 6 American Aerial cites its Additional Statement of Material Facts, ECF No. 95 at 3, ¶10, which merely
 states that Zerrillo visited American Aerial’s offices in Maine on several occasions and would have
 seen a “conspicuous sign” outside the entrance to the office and upon American Aerial’s vehicles which
 stated “American Aerial Crane Rental, Steel Erection and Welding Services.” Id. This does not
 constitute evidence that American Aerial’s cranes were put to more frequent and demanding uses than
 would ordinarily be expected.

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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 27 of 31           PageID #: 3471



 Opp’n. Brief, ECF No. 96 at 3 (citing ECF No. 95-7 at 2).          The second alleged

 misrepresentation is the fact that Empire provided American Aerial with the Terex

 Data Sheet, which American Aerial asserts to be a material, intentional

 misrepresentation of the Crane’s lifting capacity. ECF No. 96 at 4 (citing ECF No.

 75-4). American Aerial also asserts that Terex is liable in fraud for the Data Sheet

 and for Empire’s having provided the Data Sheet as Terex’s alleged agent. ECF No.

 93 at 10.

       The essential elements of fraud, or fraudulent misrepresentation, are (1) that

 one party made a false representation; (2) of a material fact; (3) with knowledge of its

 falsity or in reckless disregard of whether it was true or false; (4) for the purpose of

 inducing another party to act in reliance upon it; and (5) the other party justifiably

 relied upon the representation as true and acted upon it to its damage. Flaherty v.

 Muther, 17 A.3d 640, 654 (Me. 2011) (citing Me. Eye Care Assocs. P.A. v. Gorman, 942

 A.2d 707, 711 (Me. 2008) (quotation marks omitted). As an initial matter, however,

 the parties dispute whether American Aerial’s fraud claim is barred by the economic

 loss doctrine. ECF No. 89 at 7-8; ECF No. 87 at 12; and ECF No. 96 at 4-7.

       The economic loss doctrine was adopted by the Law Court in Oceanside at Pine

 Point Condominium Owners Ass’n, et. al. v. Peachtree Doors, Inc., 659 A.2d 267, 270

 (Me. 1995). Stated succinctly, the doctrine holds that “courts generally . . . do not

 permit tort recovery for a defective product’s damage to itself.” Id. at 270. The Law

 Court observed that the rationale for the economic loss doctrine is that:

       [a] situation where the injury suffered is merely the failure of the
       product to function properly is distinguishable from those situations,

                                           27
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 28 of 31                 PageID #: 3472



          traditionally within the purview of tort, where the plaintiff has been
          exposed, through a hazardous product, to an unreasonable risk of injury
          to his person or property.

 Id. (citing East River S.S. Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 872

 (1986)) (internal citations and quotation marks omitted). Thus, “damage to a product

 itself means simply that the product has not met the customer’s expectations, or, in

 other words, that the customer has received insufficient product value.”                   Id.

 (quotations omitted).

          As it affirmed the application of the economic loss doctrine in Maine, the

 Oceanside      court   also   affirmed   its        application   to   claims   of   negligent

 misrepresentation. Id. at 269-70; see also Maine Rubber International v.

 Environmental Mgmt. Group, Inc., 298 F.Supp.2d 133, 136 (D. Me. 2004).                    The

 applicability of the economic loss doctrine to claims of intentional misrepresentation,

 however, is an open question under Maine law, as this court has noted previously,

 both in this and another case. Order on Mtn. to Amend, ECF No. 33 at 2. See also

 Dermalogix Partners, Inc. v. Corwood Laboratories, Inc., 2000 WL 760732, *6 (D.Me.

 2000).

          It is generally accepted that the economic loss doctrine does not extend to

 claims of fraud where the alleged misrepresentation is independent of the contract,

 such as claims for fraud in the inducement. Marvin Lumber and Cedar Co. v. PPG

 Industries, Inc., 223 F.3d 873, 885 (8th Cir. 2000) (citing Huron Tool & Eng’g Co. v.

 Precision Consulting Servs., 209 Mich. App. 365 (1995)). However, this exception to

 claims that are independent of the parties’ contract, like fraud in the inducement, is



                                                28
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 29 of 31                      PageID #: 3473



 subject to a widely-recognized limitation, which holds that “if the tort alleged is

 intentional or fraudulent misrepresentation by a seller to a buyer, but the

 misrepresentation only goes to the quality or quantity of the goods promised in the

 contract,” then the economic loss doctrine bars the fraud claim. Giles v. General

 Motors Acceptance Corp., 494 F.3d 865, 876 (9th Cir. 2007) (citing All-Tech Telecom,

 Inc. v. Amway Corp., 174 F.3d 862, 865-66 (7th Cir. 1999) (“Where there are well-

 developed contractual remedies, such as the remedies that the Uniform Commercial

 Code (in force in all U.S. states) provides for breach of warranty of the quality, fitness,

 or specifications of goods, there is no need to provide tort remedies for

 misrepresentation”). See also Cerabio LLC v. Wright Medical Technology, Inc., 410

 F.3d 981, 989-990 (7th Cir. 2005) (fraud in the inducement exception to the economic

 loss doctrine does not apply when the fraud pertains to the quality of the goods that

 are the subject matter of the contract); Werwinski v. Ford Motor Co., 286 F.3d 661,

 679-80 (3rd Cir. 2002) (barring fraud claim under Pennsylvania law because appellant

 was unable to explain why contract remedies were not adequate to provide redress

 when the alleged misrepresentation related to the quality or characteristics of the

 goods sold)7; Triad Group, Inc. v. Vi-Jon, Inc., 870 F.Supp.2d 645, 653-54 (E.D. Wisc.

 2012).


                                                             
 7 In barring the plaintiff’s fraud claim, the Werwinski court “held that Pennsylvania’s common law
 economic loss doctrine trumped Pennsylvania’s statutory consumer protection statute.” O’Keefe v.
 Mercedes-Benz USA, LLC, 214 F.R.D. 266, 275 (E.D. Pa., 2003). The Eastern District of Pennsylvania
 noted in O’Keefe that, notwithstanding Werwinski, Pennsylvania state courts have continued to allow
 damage awards in consumer fraud cases pursuant to that state’s consumer protection statute. Id.
 Because there is no corresponding consumer protection statute invoked by American Aerial in this
 case, I cite Werwinski for its discussion of the economic loss doctrine and its application to common
 law claims of fraud.

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Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 30 of 31           PageID #: 3474



       Based upon the foregoing authority and the Oceanside court’s stated rationale

 for applying the economic loss doctrine in other misrepresentation contexts, I

 conclude that Maine would extend the economic loss doctrine to claims for fraudulent

 misrepresentation by a seller to a buyer where the misrepresentation concerns the

 quality of the goods or product promised in the sales contract. This conclusion is

 consistent with the purpose of the economic loss doctrine, which is to limit duplicative

 tort remedies where the alleged harm suffered by the plaintiff can be addressed by

 claims for breach of contract or breach of express and implied warranties.

 Furthermore, this approach compliments an approach already taken under Maine

 law, whereby the measure of damages in tort for misrepresentation is the same as

 the measure of damages for breach of contract. Williams v. Ubaldo, 670 A.2d 913,

 917 (Me. 1996) (discussing the measure of damages for breach of contract); Jourdain

 v. Dineen, 527 A.2d 1304, 1307 (Me. 1987) (discussing the measure of damages for

 fraud). See also Restatement (Second) of Torts § 549(1)(a) (1977). Thus, a plaintiff

 barred from bringing a fraud claim would still have recourse to recover the benefit of

 his bargain.

       Accordingly, American Aerial’s fraud claim is barred by the economic loss

 doctrine. The defendants’ respective summary judgment motions (ECF No. 87 at 8-

 13 and ECF No. 89 at 4-9) are GRANTED with regard to Counts Three and Four.

 E.    COUNT FIVE: PUNITIVE DAMAGES

       An award of punitive damages requires evidence that a defendant engaged in

 tortious conduct and acted with malice, which can take the form of either actual ill



                                           30
  
Case 2:12-cv-00361-JDL Document 108 Filed 08/15/14 Page 31 of 31         PageID #: 3475



 will toward the plaintiff or conduct by the defendant that “is so outrageous that

 malice . . . can be implied.” Tuttle v. Raymond, 494 A.2d 1353, 1361 (Me. 1985). In

 order to recover punitive damages, a plaintiff must prove malice “by clear and

 convincing evidence.” Id. at 1354.

       The grant of summary judgment in the defendants’ favor with regard to

 American Aerial’s fraud claim, supra, precludes an award of punitive damages

 because there is no tortious conduct upon which to base such an award. See id. at

 1361 (“punitive damages are available based upon tortious conduct only if the

 defendant acted with malice.”). I conclude, therefore, that the defendants’ respective

 summary judgment motions (ECF No. 87 at 14 and ECF No. 89 at 9) must be

 GRANTED as to Count Five as well.

                                 IV. CONCLUSION

       For the foregoing reasons, the respective summary judgment motions of Terex

 and Empire are GRANTED with regard to American Aerial’s breach of contract

 claim and breach of the implied warranty of fitness for a particular purpose (Count

 One); GRANTED with regard to American Aerial’s claims for fraud (Counts Three

 and Four); and GRANTED with regard to American Aerial’s claim for punitive

 damages (Count Five). The defendants’ summary judgment motions are DENIED

 IN PART with regard to American Aerial’s breach of the implied warranty of

 merchantability claim (Count One).

       SO ORDERED.

 This 15th day of August, 2014          /s/ JON D. LEVY
                                        UNITED STATES DISTRICT JUDGE

                                          31
  
